872 F.2d 418Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eddie Lee MUMFORD, Petitioner-Appellant,v.WARDEN, MARYLAND CORRECTIONAL INSTITUTE, Respondent-Appellee.
    No. 88-7302.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 27, 1989.Decided March 21, 1989.
    
      Eddie Lee Mumford, appellant pro se.
      Mary Ellen Barbera, John Joseph Curran, Jr., Office of the Attorney General of Maryland, for appellee.
      Before WIDENER, SPROUSE, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Eddie Lee Mumford appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Mumform v. Warden, C/A No. 87-457-S (D.Md. Oct. 17, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    